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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

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                                                    :
 In re                                              :    Chapter 11
                                                    :
 FTX TRADING LTD., et al.,                          :    Case No. 22-11068 (JTD)
                                                    :    (Jointly Administered)
                                   Debtors.         :
                                                    :    Re: D.I. __________
                                                    :
                                                    :
                                                    :

                   ORDER APPROVING APPOINTMENT OF EXAMINER

         Upon the United States Trustee’s Application for an Order Approving Appointment of

Examiner, dated February 27, 2024 (the “Application”); the Court having reviewed the

Application; and it appearing that timely and sufficient notice of the Application was given to

interested parties in accordance with the Bankruptcy Code and the Bankruptcy Rules; and no other

notice need be given; and upon the hearing held on March 20, 2024; and it appearing that Robert

J. Cleary, a disinterested person within the meaning of 11 U.S.C. § 101(14), has been appointed

by the United States Trustee as Examiner in the above-captioned, jointly-administered cases of

FTX Trading Ltd., et al., and after all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing thereof; it is hereby

         ORDERED that the appointment of Robert J. Cleary as Examiner is approved in the jointly-

administered bankruptcy cases of FTX Trading Ltd., et al. pursuant to 11 U.S.C. § 1104(d).




         Dated: March 20th, 2024                              JOHN T. DORSEY
         Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE
